    Case: 1:20-cr-00759 Document #: 13 Filed: 11/05/20 Page 1 of 4 PageID #:50




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                              No. 20 CR 759
              v.
                                              Judge Sunil R. Harjani
BARNETT FUNG


              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the agreed motion of the government, pursuant to Fed. R. Crim. P. 16(d),

it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendant and

defendant’s counsel (defined as counsel of record in this case) solely in connection

with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

      2.     Defendant and defendant’s counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”). Potential witnesses and their counsel

may be shown copies of the materials as necessary to prepare the defense, but may

not retain copies without prior permission of the Court.
    Case: 1:20-cr-00759 Document #: 13 Filed: 11/05/20 Page 2 of 4 PageID #:51




      3.     Certain materials disclosed or to be disclosed by the government contain

particularly sensitive information, including medical information of one or more

persons other than the defendant. These materials shall be plainly marked as

sensitive by the government prior to disclosure. No such materials, or the information

contained therein, may be disclosed to any persons other than defendant, counsel for

defendant, persons employed to assist the defense, or the person to whom the

sensitive information solely and directly pertains, without prior notice to the

government and authorization from the Court. Absent prior permission from the

Court, information marked as sensitive shall not be included in any public filing with

the Court, and instead shall be submitted under seal (except if the defendant chooses

to include in a public document sensitive information relating solely and directly to

the defendant.

      4.     Defendant, defendant’s counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendant, defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      5.     Defendant, defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents of

the materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.


                                          2
     Case: 1:20-cr-00759 Document #: 13 Filed: 11/05/20 Page 3 of 4 PageID #:52




      6.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      8.     To the extent any material is produced by the United States to

defendant or defendant’s counsel by mistake, the United States shall have the right

to request the return of the material and shall do so in writing. Within five days of

the receipt of such a request, defendant and/or defendant’s counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

      9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit defense


                                           3
     Case: 1:20-cr-00759 Document #: 13 Filed: 11/05/20 Page 4 of 4 PageID #:53




counsel in the use of discovery materials in judicial proceedings in this case, except

that any document filed by any party which attaches or otherwise discloses specially

identified sensitive information as described in Paragraph 3, above, shall be filed

under seal to the extent necessary to protect such information, absent prior

permission from this Court.

      10.    Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                         ENTER:


                                         SUNIL R. HARJANI
                                         Magistrate Judge
                                         United States District Court
                                         Northern District of Illinois

Date: 11/5/2020




                                            4
